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      YURI DOERING
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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      YURI DOERING,                                   Case No.: 2:23-cv-09909-JFW (JPRx)
11
12                 Plaintiff,                         NOTICE OF VOLUNTARY
                                                      DISMISSAL OF ENTIRE ACTION
13          vs.                                       WITH PREJUDICE
14
      LUCIA MARTINEZ SANCHEZ D/B/A
15    MORELOS MEAT MARKET; GARY
16    WALTER BISCHOFF, AS TRUSTEE OF
      THE BISCHOFF FAMILY REVOCABLE
17    TRUST; GREAT HIGHWAY, LLC; and
18    DOES 1 to 10,
19                 Defendants.
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21
            PLEASE TAKE NOTICE that Plaintiff YURI DOERING (“Plaintiff”) pursuant
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      to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
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      action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
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      provides in relevant part:
25
            (a) Voluntary Dismissal.
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                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:23-cv-09909-JFW-JPR Document 16 Filed 05/24/24 Page 2 of 2 Page ID #:62




 1                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
 2                       and any applicable federal statute, the plaintiff may dismiss an action
 3                       without a court order by filing:
 4                       (i)   A notice of dismissal before the opposing party serves either an
 5                             answer or a motion for summary judgment.
 6
      None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 7
      summary judgment. Accordingly, this matter may be dismissed without an Order of the
 8
      Court.
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      DATED: May 24, 2024             SO. CAL. EQUAL ACCESS GROUP
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13                                          By:      /s/ Jason J. Kim
14                                                 Jason J. Kim, Esq.
                                                   Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
